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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

D.H. PACE COMPANY, INC.,

                Plaintiff,                       CIVIL ACTION NO.
         v.                                      1:22-CV-01005-SEG
MATTHEW JOHNSON and
LIBERTY GARAGE DOOR
SERVICES, LLC,
                Defendants.

                                    ORDER

        This case is before the Court on Plaintiff’s motion for expedited discovery

(Doc. 2) and on the related requests made in Plaintiff’s Notice on Expedited

Discovery (Doc. 55). The Court has reviewed and considered Defendants’

response. (Doc. 56.) On June 6, 2022, the Court held a telephone conference

to discuss expedited discovery. For good cause shown, the motion for expedited

discovery is GRANTED in part as set forth herein.

   I.         Background

        On June 3, 2022, the Court granted in part Plaintiff’s motion for a TRO.

In that motion, Plaintiff requested expedited discovery. Plaintiff seeks

expedited discovery in anticipation of a soon-to-be-held preliminary injunction
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hearing. Plaintiff requests a hearing within 14 days of the TRO or by June

17, 2022.

   II.     Discussion

         The Eleventh Circuit has not adopted a standard for allowing expedited

discovery, but many district courts within the Eleventh Circuit have used a

general “good cause” standard when evaluating such requests. See, e.g., In re

Chiquita Brands Int’l, Inc., Case No. 08-01916, 2015 U.S. Dist. LEXIS

189224, at *442 (S.D. Fla. Apr. 15, 2015); TracFone Wireless, Inc. v. Holden

Prop. Servs. LLC, 299 F.R.D. 692, 694 (S.D. Fla. 2014); Pulsepoint, Inc. v.

7657030 Canada Inc., Case No. 13-61448, 2013 U.S. Dist. LEXIS 199573, at

*3 (S.D. Fla. Oct. 31, 2013). “In determining whether good cause exists, the

court should weigh the need for quick discovery against the prejudice to the

responding party.” Rivera v. Parker, No. 1:20-CV-03210-SCJ, 2020 U.S. Dist.

LEXIS 248707, at *7 (N.D. Ga. Aug. 28, 2020). “Good cause may be

established by showing some impelling urgency which necessitates action

forthwith and excuses giving notice to the other party, such as a showing that

the desired testimony is in hazard of loss unless the deposition is taken

forthwith.” GE Seaco Servs. v. Interline Connection, N.V., No. 09-23864-CIV,

2010 U.S. Dist. LEXIS 35367, at *2 (S.D. Fla. Mar. 17, 2010) (citations and

quotations omitted.)

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      Here, the TRO filings showed gaps in the evidence as to certain

matters, particularly with respect to the trade secrets claims. Additionally,

the efficient resolution of the preliminary injunction proceeding, and the case

as a whole, would be served by depositions and other discovery that permit

inquiry into the breach of contract, trade secret, and tortious interference

claims. Expedited discovery will facilitate the presentation of evidence at the

preliminary injunction hearing. As such, the Court finds that the need for

expedited discovery outweighs the prejudice to the responding party in this

instance.

      The Court orders that the parties proceed with expedited discovery as

follows:

   1. The parties are DIRECTED to confer to find a mutually agreeable time

      and date for the depositions of Craig Johnson, Matthew Johnson, and

      Shafie Hussein. These depositions shall take place by Wednesday, June

      15, 2022. Each deposition shall be limited to two hours but shall not

      otherwise be limited in scope.

   2. Plaintiff is DIRECTED to select from the discovery requests already

      served upon Defendants on May 20, 2022, a maximum of ten (10)

      interrogatories, twenty (20) requests for production, and twenty (20)

      requests for admission that Plaintiff would like for Defendants to

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  respond to on an expedited basis. Plaintiff’s counsel is DIRECTED to

  notify Defendants’ counsel by email of the selected discovery requests by

  Tuesday, June 7, 2022, at 12:00 p.m. Defendants are then DIRECTED

  to respond to these discovery requests by Friday, June 10, 2022.

3. Defendants are DIRECTED to comply with subsection B(1) of the

  proposed ESI Protocol, (Doc. 55, Ex. A at 4), by Friday, June 10, 2022, at

  12:00 p.m.



  SO ORDERED this 7th day of June, 2022.




                                SARAH E. GERAGHTY
                                United States District Judge




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